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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

 

Gary L. Merchant,

Plaintiff

Vv. Case No. 1:17-cv-00524-BLW

Corizon, L.L.C., John Migliori, M.D.,
David Agler, M.D., and John/Jane Does I-
X, whose true identities are presently

STATEMENT OF DISPUTED FACTS
IN OPPOSITION TO CORIZON
DEFENDANTS’ MOTION FOR

unknown, SUMMARY JUDGMENT (Dkt. 57)

Defendants

 

 

COMES NOW Plaintiff, by and through his attorneys of record, Jason R.N. Monteleone of
Johnson & Monteleone, L.L.P., and, pursuant to D.Id.L.Civ.R. 7.1(c)(2), submits the following
statement of disputed facts that demonstrates summary judgment is not appropriate in this case

and that the instant matter requires resolution by a jury:

A.) PLAINTIFF’S SYMPTOMS OF HIS LEG INFECTION AT THE CORRECTIONAL
FACILITY/ISCC PRIOR TO BEING TRANSPORTED TO ST. LUKE’S

1. Plaintiff reported symptoms and complaints of lower, left leg swelling and sever pain on
at least four (4) occasions between February 2, 2016, and February, 6, 2016, as he reported

these symptoms in Health Service Request Forms (“HSRs”) he submitted to Corizon

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Defendants. Affidavit of Jason R.N. Monteleone in Opposition to Corizon, LLC, John
Migliori, MD, and David Agler, MD’s Motion for Summary Judgment (hereafter “Affidavit
of Counsel”) at§16 and Ex. 15 (CORIZON 30, 31, 33, and 34).

2. Continued swelling in Plaintiff's left leg could be consistent with the necrotizing fasciitis
process which resulted from the bacterial infection. Cunagin Depo. at 29:13-17.!

3. Plaintiff's continued swelling in his left leg on February 5, 2016, could be indicative of
necrotizing fasciitis. Cunagin Depo. at 29:23-30:1-4.

4. Severe left leg swelling and pain having continued to February 6, 2016, would be indicative
of necrotizing fasciitis. Cunagin Depo. at 30:5-15.

5. The incubation period of Group A streptococcal infections varies, but most have a range
of 1-5 days, while other take over a week to cause symptoms; incubation does not occur in
a matter of hours. Cunagin Depo. at 78:18-79:1-18.

6. Defendant Migliori even admitted that the unilateral leg swelling of which Plaintiff was
complaining could be consistent with a soft tissue infection. Migliori Depo. at 97:14-20.?

7. Dr. Madsen has opined that Plaintiff presented to St. Luke's emergency department, and
the diagnosis was made quickly by the intensivist (Dr. Nowbar) and the infectious disease
specialist (Dr. Dau). Madsen Depo. at 109:2-111:1-16.3

8. Plaintiff had severe, +4 pitting edema on February 3, 2016, and this was documented by

Nurse Cano, a Corizon employee, on that date. Madsen Depo. at 123:7-124:1-5.

 

| Affidavit of Counsel at {7 and Ex. 6 (Deposition of Catherine Cunagin, M.D. (orthopedic surgeon at St.
Luke’s who performed the amputation of Plaintiffs left leg above the knee)).

* Affidavit of Counsel at 410 and Ex. 9 (Deposition of John Migliori, M.D. (employee of Corizon, L.L.C.,
Medical Director at ISCC at the relevant times, treated Plaintiff, and Defendant in this action)).

3 Affidavit of Counsel at 411 and Ex. 10 (Deposition of Julie Madsen, M.D. (Plaintiff's retained, medical
expert on breaches of SOCs, deliberate indifference, causation, and life care planning)).

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9. Despite having several, chronic health conditions which he had to manage, Plaintiff never
expressed any emergency or urgency relative to his medical needs until his left leg became
severely infected. Madsen Depo. at 147:11-149:1-10; Affidavit of Counsel at 916, Ex. 15
(compilation of Plaintiff's correctional medical records at ISCC) at CORIZON 87).

B.) PLAINTIFF’S SYMPTOMS AND DIAGNOSES UPON PRESENTATION TO ST.
LUKE’S AND SHORTLY THEREAFTER.

1. Plaintiff presented to the St. Luke's emergency department with edema, tenderness to
touch, and bruising in his lower, left leg but not his right leg, which are all potentially
indicative of an infection among other medical conditions. Arthur Depo. at 33:10-34:1-
22.4

2. Plaintiff was near death. Cunagin Depo. at 25:23-26:1-10.

3. Plaintiff presented to the St. Luke's emergency department with edema, tenderness to
touch, and bruising in his lower, left leg but not his right leg, which are all potentially
indicative of an infection among other medical conditions. Arthur Depo. at 33:10-34:1-
22.

4. Plaintiff was near death. Cunagin Depo. at 25:23-26:1-10.

5. When Dr. Arthur, a general surgeon, first was treating Plaintiff at the St. Luke's emergency
room around 3:00 a.m. on February 7, 2016, Plaintiffhad left leg pain and swelling, though
the cause was not yet diagnosed. Arthur Depo. at 22:18-23.

6. Upon presentation to St. Luke's emergency department, Plaintiff had an elevated white

blood cell count, which is suspicious for an infection. Arthur Depo. at 22:25-23:8.

 

* Affidavit of Counsel at {6 and Ex. 5 (Deposition of Caroline Arthur, M.D. (general surgeon at St. Luke’s
who initially examined Plaintiff for the ingested razor blade)).

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7. Upon presentation to St. Luke's emergency department, Plaintiff was quickly placed on
antibiotics because of the elevated white blood cell count and the possibility of infection.
Arthur Depo. at 23:15-22.

8. It was clear that Plaintiff's left leg required evaluation upon his presentation to the St.
Luke's emergency department. Arthur Depo. at 27:10-16.

9. Plaintiffs left leg was infected with a Group A streptococcal infection. Cunagin Depo. at
33:24-34:1-3,

10. The infection was so advanced in Plaintiff's left leg, by February 7, 2016, that amputation
above the knee was necessary, and a second debridement of the leg would not have been
helpful. Cunagin Depo. at 44:45:1-3.

11. Plaintiff was already in septic shock, when he was first treated by Dr. Cunagin, which was
within several hours of his presentation to St. Luke's Emergency Department. Cunagin
Depo. at 48:3-15.

12. Dr. Andrew, the emergency department physician who initially treated Plaintiff upon his
arrival at St. Luke's Emergency Department, prescribed Zosyn, which is a broad-spectrum
antibiotic used to treat bacterial infections such as the one Plaintiff had. Cunagin Depo. at
49:21:50:1-6.

13. Plaintiff's left leg was so severely infected that a guillotine amputation was required, so
Plaintiff could be immediately returned to the ICU after the amputation procedure.
Cunagin Depo. at 50:7-51:1-2.

14. From her first examination and throughout her care and treatment of Plaintiff, Dr. Cunagin

diagnosed Plaintiff's left leg infection as full-blown necrotizing fasciitis. Cunagin Depo.

at 55:20-56:1-8.

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15. Plaintiff arrived at St. Luke's Emergency Department at 12:35 a.m. on February 7, 2016,
and Dr. Cunagin first examined him at 9:30 a.m. on that date. Cunagin Depo. at 68:20-
69:1-15.

16. Plaintiff had a Group A streptococcal infection which must be diagnosed quickly and
treated aggressively, because it is associated with severe, systemic toxicity, necrotizing
fasciitis, and is rapidly fatal. Cunagin Depo. at 76:23-77:1-22.

17. It was less than twelve (12) hours from Plaintiffs presentation to St. Luke's Emergency
Department and the amputation of his left leg above the knee. Souza Depo. at 20:19-21:1-
4,

18. Had the above-the-knee amputation of Plaintiff's left leg not occurred, Plaintiff would have
died very soon from the infection. Souza Depo. at 21:18-22:1-15.

19. Dr. Madsen has opined that Plaintiff presented to St. Luke's emergency department, and
the diagnosis was made quickly by the intensivist (Dr. Nowbar) and the infectious disease
specialist (Dr. Dau). Madsen Depo. at 109:2-111:1-16.

20. The emergency department physician at St. Luke's, Dr. Andrew, must have suspected
Plaintiff was infected, because he promptly prescribed a broad-spectrum antibiotic, Zosyn,
upon Plaintiff's presentation to St. Luke's. Madsen Depo. at 233:16-235:1-18.

21. Dr. Dau diagnosed Plaintiff with necrotizing fasciitis due to a streptococcal/bacterial

infection in the morning of February 7, 2016. Dau Affidavit at 97 and 8.°

 

> Affidavit of Counsel at 18 and Ex. 7 (Deposition of James Souza, M.D. (St. Luke’s Vice-President of
Medical Quality at St. Luke’s who wrote Corizon Defendants requesting an investigation into Plaintiff's access to
medical care at ISCC prior to Plaintiff's presentation to St. Luke’s)).

° Affidavit of Birgitt Dau, M.D. (Dkt. 56) (Infectious Disease specialist who treated Plaintiff shortly after
his presentation to St. Luke’s late on February 6, 2016, or early on February 7, 2016)).

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22. On February 2, 2016, Plaintiff had symptoms consistent with a bacterial infection of the
soft tissue of Plaintiff's left leg. Cunagin Depo. at 28:5-22.

23. By the evening of February 6, 2016, Plaintiff's infected, left leg was a medical emergency,
which had been disregarded by two (2) of Corizon's employees, a nurse and a physician
assistant (Miguez and Duncan). This involved both breaches of applicable SOCs as well
as manifest, deliberate indifference to Plaintiff's medical needs by Corizon employees.
Madsen Depo. at 144:20-147:1-5.

24. By 10:30 a.m., when she dictated her first chart note regarding her care and treatment of
Plaintiff, Dr. Nowbar had necrotizing fasciitis in Plaintiff's left leg as part of her differential
diagnosis. Nowbar Depo. at 22:8-16.’

25. Dr. Nowbar diagnosed the cellulitis upon her first, clinical examination of Plaintiff, which
would have been on February 7, 2016. Nowbar Depo. at 28:3-20.

C.) APPLICABLE STANDARDS OF CARE (“SOCs”) IN THIS CASE AND THE
BREACHES OF THOSE SOCs WHICH REQUIRED HIGH SUSPICION AND
EARLY DETECTION OF PLAINTIFF’S LEG INFECTION, TREATMENT WITH
ANTIBIOTIC MEDICATION, AND MORE TIMELY TRANSFER TO AN
INFECTIOUS DISEASE SPECIALIST OR HOSPITAL.

1, In his deposition, Defendant Migliori testified that the applicable SOCs in this case
required that an off-site infectious disease consult be readily available, that it is important
to have that off-site consult available, when an inmate's condition warranted it, yet he could

not even testify to whether Plaintiff needed that infectious disease consult during the period

of time from January 28, 2016, through February 7, 2016. Migliori Depo. at 52:14-54:1-

5.

 

7 Affidavit of Counsel at §12 and Ex. 11 (Deposition of Sogol Nowbar, M.D. (intensivist at St. Luke’s who
treated Plaintiff for his streptococcal infection both before and after the leg amputation)).

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2. At no time during his medical care and treatment of Plaintiff in late January and early
February of 2016 did Defendant Migliori ever have any concern that Plaintiff had a soft
tissue infection. However, Defendant Migliori admitted that leg swelling, such as Plaintiff
complained about on February 2, 2016, could be consistent with a soft tissue infection.
Migliori Depo. at 93:22-93:1-17.

3. In early 2016, Corizon employees had the capability to diagnose a soft tissue infection such
as Plaintiff's through a blood study; however, that was never used. Migliori Depo. at 128:9-
14.

4. IDOC policy required Corizon to provide Infectious Disease consultations for inmates
away from the correction facility. Affidavit of Counsel at $18 and Ex. 17.

5. IDOC policy required Corizon to timely transfer inmates to specialty clinics and/or
community hospital services, when an acute illness is present. Affidavit of Counsel at 419
and Ex. 18.

6. Timely diagnosis, broad-spectrum antibiotic therapy, and aggressive surgical debridement
are the keys to treating Group A streptococcal infections which lead to necrotizing fasciitis.
Cunagin Depo. at 77:24-78:1-17.

7. Because of the insidious nature of the infections that lead to necrotizing fasciitis, healthcare
professionals must have a high level of suspicion, so the diagnosis of the infection is not
missed, This is especially true in immunocompromised patients such as Plaintiff. Souza
Depo. at 23:1-21.

8. Dr. Madsen is familiar with SOCs for mid-level providers such as nurse practitioners and
physician assistants as well as nurses and other ancillary staff, as she oversees them as a

physician. Madsen Depo. at 9:2-10:1.

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9. Dr. Madsen has specific experience with the Veterans Administration's Boise amputee
clinic. This assists and advises her in drafting life care plans for amputees. Madsen Depo.
at 66:7-70:1-9,

10. Dr. Madsen supervised nurses and midlevel providers during the relevant times to the
instant action. Madsen Depo. at 70:10-71:1-14.

11. Dr. Madsen has treated patients with necrotizing fasciitis. Madsen Depo. at 74:3-75:1-8.

12. In treating a Boise patient with necrotizing fasciitis, Dr. Madsen ordered a CT scan to detect
fascial gas and necrosis. Madsen Depo. at 77:18-78:1-16.

13. As a wound care specialist at Idaho Elks Wound Care Clinic, Dr. Madsen treated a patient
with necrotizing fasciitis who presented with the same symptoms as Plaintiff (i.e. pain
beyond that shown clinical examination, swelling, and redness). Madsen Depo. at 79:8-
81:1-18.

14. Dr. Madsen has opined that the gold standard for diagnosing necrotizing fasciitis is
pathology studies, though radiologic studies are helpful as well but can delay the
therapeutic treatment of the infection. Madsen Depo. at 82:7-21.

15. Dr. Madsen's conversation about healthcare at a prison south of Boise with Christian Gelok,
N.P., was entirely innocent and without importance sufficient to include in her expert
reports. Madsen Depo. at 94:24-100:1-6.

16. SOCs are the same in the correctional setting as they are for the community at large.
Madsen Depo. at 131:8-133:1-15,.

17. Dr. Madsen is familiar with the SOCs related to the evaluation of edema, the treatment of
infection, the evaluation of immunocompromised patients, and the evaluation of cardiac

patients with a reasonable degree of medical certainty. Madsen Depo. at 163:17-164:1-3.

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18. Dr. Madsen is familiar with the SOCs related to the evaluation of edema, the treatment of
infection, the evaluation of immunocompromised patients, and the evaluation of cardiac
patients with a reasonable degree of medical certainty. Madsen Depo. at 163:17-164:1-3.

19. At no time during his medical care and treatment of Plaintiff in late January and early
February of 2016 did Defendant Migliori ever have any concern that Plaintiff had a soft
tissue infection. However, Defendant Migliori admitted that leg swelling, such as Plaintiff
complained about on February 2, 2016, could be consistent with a soft tissue infection.
Migliori Depo. at 93:22-93:1-17.

20. Though Defendant Migliori admitted that reducing blood flow to a limb with a soft tissue
infection could be contraindicated, he still prescribed compression stockings to Plaintiff in
early February 2016. Migliori Depo. at 99:6-100:1-2.

21. In a patient with a soft tissue infection, the continued, subcutaneous injection of Humira
would be contraindicated; nevertheless, Corizon employees continued to do so even on
February 5, Migliori Depo. at 101:8-17.

22. The medical care provided to Plaintiff was suboptimal. Madsen Depo. at 116:10-16.

23. Dr. Madsen has opined that Defendant Migliori's medical treatment of Plaintiff did not
meet the applicable SOC, because he failed to diagnose and properly treat the left leg
infection early. Madsen Depo. at 116:17-117:1-25.

24. Defendant failed to recognize clear signs of infection in Plaintiff, even though he reviewed
Plaintiffs laboratory studies on February 4, 2016. Madsen Depo. at 118:16-119:1-19.

25. Defendant Migliori failed to appreciate the very harmful possibility of a soft tissue
infection in Plaintiffs left leg and prescribed a medication, Lasix, which was

contraindicated. Madsen Depo. at 124:21-125:1-11.

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26.

27,

28.

29.

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Defendant Migliori did not formulate a high index of suspicion for the signs of infection
which Plaintiff was writing down in his HSRs. Madsen Depo. at 128:7-14.

Dr. Madsen's opinions relative to the Corizon Defendants' deficient, medical care are
summarized in her expert report. Madsen Depo. at 137:17-139:1-15.

Corizon Defendants rendered substandard and deliberately indifferent, medical care to
Plaintiff, because they claim that Plaintiff refused care on February 6, 2016, when, in fact,
Plaintiff could not return to the medical unit at the correctional facility, because he was
unable to walk on his infected leg and was having frequent bowel movements related to
his Crohn's Disease. Madsen Depo. at 140:19-144:1-7.

No reasonable evaluation of Plaintiff's severe, left leg pain was performed by the Corizon

employees during the time frame from February 2-6, 2016, at the correctional facility.

Madsen Depo. at 158:15-24.

D.) DELIBERATE INDIFFERENCE AND NEGLIGENT HIRING/RETENTION

1.

Defendant Migliori cannot even identify whether Plaintiff was in a dire, medical condition,
when Plaintiff presented to St. Luke's emergency department late on February 6, 2016. Nor
could Defendant Migliori even identify, during his deposition, what Plaintiff's, his patient's,
health condition was in the days leading up to the hospitalization at St. Luke's. Migliori
Depo. at 47:7-23.

Defendant Migliori testified in his deposition that he did not know whether Plaintiff even
needed an infectious disease consult at any time from January 28, 2016, through February

7, 2016. Migliori Depo. at 54:11-24.

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3. Defendant Migliori cannot even identify the proper SOC for scheduling an off-site,
infectious disease consult in a patient exhibiting signs and symptoms of necrotizing
fasciitis. Migliori Depo. at 56:11-19.

4. Defendant Migliori admitted that Plaintiff was never provided with an infectious disease
consult, but he could not testify as to why that consult never occurred. Migliori Depo. at
58:6-22.

5. Defendant Migliori cannot even identify whether Plaintiff was a compliant, concerned
patient who was interested in his own health. Migliori Depo. at 74:9-17.

6. Even on February 4, 2016, despite leg swelling and severe pain, Defendant Migliori cannot
even state whether a soft tissue infection should have been on Plaintiffs differential
diagnosis. Migliori Depo. at 102:10-24.

7. Corizon is responsible, under its contract with IDOC, to pay for inmates’ medical bills
incurred away from the correctional facility. Migliori Depo. at 148:23-150:1-3.

8. Dr. Madsen has opined that Defendant Migliori acted with deliberate indifference to the
medical needs of Plaintiff and thereby violated the applicable SOCs. Madsen Depo. at
129:15-131:1-7.

9. Dr. Madsen's opinions relative to the Corizon Defendants’ deficient, medical care are
summarized in her expert report. Madsen Depo. at 137:17-139:1-15.

10. IDOC policy required Corizon to provide Infectious Disease consultations for inmates
away from the correctional facility. Affidavit of Counsel at 18 and Ex. 17.

11. Corizon Defendants rendered substandard and deliberately indifferent, medical care to
Plaintiff, because they claim that Plaintiff refused care on February 6, 2016, when, in fact,

Plaintiff could not return to the medical unit at the correctional facility, because he was

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unable to walk on his infected leg and was having frequent bowel movements related to
his Crohn's Disease. Madsen Depo. at 140:19-144:1-7.

12. By the evening of February 6, 2016, Plaintiff's infected, left leg was a medical emergency,
which had been disregarded by two (2) of Corizon's employees, a nurse and a physician
assistant (Miguez and Duncan). This involved both breaches of applicable SOCs as well
as manifest, deliberate indifference to Plaintiffs medical needs by Corizon employees.
Madsen Depo. at 144:20-147:1-5.

13. Dr. Souza, St. Luke’s Vice-President of Medical Quality, wrote a letter to Corizon, dated
March 10, 2016, requesting an investigation into whether Plaintiff had adequate access to
healthcare at ISCC prior to Plaintiff's admission to St. Luke’s on February 7, 2016.
Affidavit of Counsel at §17 and Ex. 16.

14. In 2016, Dr. Souza was the Vice-President of Medical Affairs for St. Luke's Health System,
when he wrote the Corizon Defendants on March 10, 2016, requesting an investigation into
Plaintiff's access to medical care at ISCC; and he later became the Chief Medical Officer
for the entire health system in 2017. Souza Depo. at 8:20-9:1-19.

15. Dr. Souza and his critical care colleague, Patrick Weis, were concerned that there had been
a delay in Plaintiff receiving medical care prior to his presentation to St. Luke's Emergency
Department. That concern was validated. In turn, Dr. Souza wrote a concerning letter to
Corizon's Medical Director relative to the concern over the delay in Plaintiff's receipt of
medical treatment while incarcerated. Souza Depo. at 12:14-14:1-19.

16. Though Dr. Souza requested that Corizon undertake an investigation into any delay in

Plaintiff's medical care, while incarcerated, he never heard back from Corizon, nor did

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Corizon ever formulate a plan of action and provide it to St. Luke's, as requested by Dr.
Souza. Souza Depo. at 26:23-27:1-14.

17. Dr. Souza, as St. Luke’s Vice-President of Medical Affairs, wrote a letter to Corizon
requesting an investigation into whether Plaintiff had adequate access to healthcare at ISCC

prior to Plaintiff's admission to St. Luke’s on February 7, 2016. Affidavit Counsel at 917

and Ex. 16.
E.) CAUSATION

1. Plaintiff's leg was amputated to prevent an infection in that leg from progressing further.
Migliori Depo. at 36:11-20.

2. Continued swelling in Plaintiff's left leg could be consistent with the necrotizing fasciitis
process which resulted from the bacterial infection. Cunagin Depo. at 29:13-17.

3. Plaintiff's left leg was infected with a Group A streptococcal infection. Cunagin Depo. at
33:24-34:1-3.

4. Patients who have atrial fibrillation and are removed from their anticoagulant therapy such
as Coumadin, which Plaintiff was taking but was removed from it in order to undergo
surgeries to treat the streptococcal infection, are at a higher risk for an ischemic stroke,
which is what Plaintiff suffered during his hospitalization at St. Luke's. Whiteside Depo.
at 43:1-45:1-3.8

5. Defendant Migliori could not offer any reason to doubt that necrotizing fasciitis was the
condition requiring the amputation. Migliori Depo. at 38:12-22.

6. Earlier treatment of Plaintiff's infection would have avoided the amputation that followed.

Madsen Depo. at 128:15-22.

 

8 Affidavit of Counsel at §9 and Ex. 8 (Deposition of James Whiteside, M.D. (neurologist at St. Luke’s who
treated Plaintiff for an ischemic stroke following the amputation of Plaintiff's leg)).

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7. Streptococcus pyogenes was the bacteria that caused the infection in Plaintiff's left leg.
Nowbar Depo. at 15:18-22.

8. The streptococcal infection caused renal failure as well as cardiovascular injury and
respiratory injury as well as septic shock. Nowbar Depo. at 16:24-17:1-6.

9. The streptococcal infection caused the sepsis and septic shock. Nowbar Depo. at 22:3-6.

10. Plaintiffs left leg was the source of the infection which contributed to the septic shock.
Nowbar Depo. at 23:7-24:1-3.

11. Plaintiffs multi-organ failure, his lactic acidosis, and the need for ventilator support all
related to the streptococcal infection. Nowbar Depo. at 27:13-17.

12. Plaintiff's acute, renal failure, acute respiratory failure, and the above-the-knee amputation
of his left leg were all caused by the streptococcal infection. Nowbar Depo. at 28:21-29:1.

13. The streptococcal infection caused Plaintiff's multi-organ failure, rendered him critically
ill, and left him at a high risk of deterioration. Nowbar Depo. at 34:6-19.

14. The streptococcal infection caused an increase in Plaintiff's preexisting, atrial fibrillation.
Nowbar Depo. at 35:25-36:1-23.

15. A streptococcal cellulitis process likely began on February 2, or 3, 2016, which, when left
untreated with antibiotic therapy, manifested in necrotizing fasciitis which necessitated the
amputation of Plaintiff's left leg. Dau Affidavit at §J11 and 12.

F.) PLAINTIFF WAS IMMUNOCOMPROMISED DUE TO HIS MEDICATIONS, AND
THIS CREATED A HIGHER RISK OF INFECTION AND MADE IT MORE
LIKELY FOR PLAINTIFF TO BECOME INFECTED.

1. Plaintiff is an immunocompromised patient due to taking Humira and chronic use of

Predisone for his Crohn's Disease, and these medications made it more likely that Plaintiff

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could become infected and would thus be at a higher risk for the development of
necrotizing fasciitis. Cunagin Depo. at 31:25-33:1-4.

2. Plaintiff was an immunocompromised patient, and that means he was at an increases risk
for life-threatening infections. Souza Depo. at 18:16-19:1-12.

3. Immunocompromised patients who are taking Humira for Crohn's Disease, such as
Plaintiff, are at a higher risk for infections. Whiteside Depo. at 41:12-20.

4. During the times he was prescribing Humira to Plaintiff, Defendant Migliori was aware
that that medication increased the risk of soft tissue infection. Migliori Depo. at 47:24-
49:1-18.

5. Prednisone, a steroid, can increase the risk of soft tissue infection. Migliori Depo. at 63:11-
16.

6. Plaintiff was an immunocompromised patient due to the Humira and prednisone he was
taking; as such, he was at a much higher risk for infection, and the Corizon employees
needed to be in tune with that fact. Madsen Depo. at 149:23-151:1-12.

7. Patients such as Plaintiff, who are taking biologic medications such as Humira for Crohn's
Disease, are at a higher risk for bacterial infections. Nowbar Depo. at 31:3-6.

8. Plaintiff is an immunocompromised patient, and he is thus more susceptible to
streptococcal infections. Dau Affidavit at [7 and 15.

G.) SWALLOWING THE RAZOR BLADE DID NOT CAUSE AND WAS NOT A
SUBSTANTIAL FACTOR IN PLAINTIFF’S LEFT LEG INFECTION.

1. Swallowing the razor blade did not cause or play any role in the streptococcal infection

which necessitated the amputation of Plaintiff's leg: Group A streptocococcal infections

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result from skin pathogens, not gastrointestinal pathogens. Dau Affidavit at {19 and 14;
Spellberg Depo, at at 37:17-15, 45:20-46:6, 52:1-14, and 69:17-71:19.°

2. Plaintiff swallowed the razor blade in order to be transported to an emergency room or
hospital away from the correctional facility, because he did not believe that he was
receiving appropriate, medical care at the correctional facility. Arthur Depo. at 18:17-
19:4,

3. Plaintiff swallowed the razor blade, because he was not satisfied with the quality of care
he was receiving at the correctional facility and wanted to be transported to a hospital away
from the correctional facility for medical treatment. Whiteside Depo. at 49:16-50:1-24.

4. Plaintiffs swallowing of the razor blade did not cause the necrotizing fasciitis which
necessitated the amputation of Plaintiff's left leg above the knee. Cunagin Depo. at 31:16-
23.

5S. It is unlikely that Plaintiff's swallowing of the razor blade played any role in the soft tissue
infection roiling in Plaintiff's left leg. Nowbar Depo. at 19:23-20:1-11.

H.) CROHN’S DISEASE DID NOT CAUSE PLAINTIFF’S LEG SWELLING AND
EDEMA.

1. Crohn's Disease would not cause unilateral swelling in Plaintiff's left leg. Nowbar Depo.
at 20:17-22.,
2. The swelling in Plaintiff's left leg, during February 2-6, 2016, was not due to Crohn’s
Disease. Dau Affidavit at 910.
IL) PLAINTIFF DID NOT REFUSE MEDICAL CARE DURING JANUARY 29, 2016,

THROUGH FEBRUARY 6, 2016, AND CORIZON DEFENDANTS’ MEDICAL
RECORDS DO NOT DEMONSTRATE THAT ASSERTION.

 

° Affidavit of Counsel at 415 and Ex. 14 (Deposition of Brad Spellberg, M.D, (Plaintiff's rebuttal expert on
Infectious Diseases)).

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Defendant Migliori charted that Plaintiff refused to be seen on February 4, 2016; however,
Defendant Migliori prescribed Lasix and compression stockings for Plaintiff on that date.
In turn, Defendant Migliori is either mistaken about the alleged refusal or care, or he
prescribed treatments for Plaintiff on that date without even having seen him. Madsen
Depo. at 126:23-128:1-5.

The medical record is unclear whether Plaintiff actually refused medical care on February

6, 2016, because his vital signs were taken on that date. Madsen Depo. at 135:22-136:1-

23.

. The medical records are very inconsistent as to whether Plaintiff actually ever refused care;

there are references to dates of service, when Plaintiff allegedly refused care from Dr.
Migliori, though Corizon's ancillary staff was able to draw blood and take vital signs from
Plaintiff on those same dates. Dr. Madsen cannot fathom how that could occur. Madsen

Depo. at 160:19-163:1-11.

J.) EXHAUSTION OF ADMINISTRATIVE REMEDIES

1,

To address inmate medical complaints, the inmate would complete an HSR, and that HSR
would generally be triaged by a nurse within twenty-four (24) hours. Migliori Depo. at
139:2-140:1,.

IDOC inmates use HSRs to request medical services; the grievance procedure is used,
when an inmate disagrees with a decision, policy, action taken by IDOC, and the inmate

wants to challenge it. Yordy Depo. at 133:24-134:1-9.!

 

'0 Affidavit of Counsel at§13 and Ex. 12 (Deposition of Keith Yordy (an IDOC warden)).

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K.) DR. MADSEN’S LIFE CARE PLAN AND ESTIMATE OF PLAINTIFF’S FUTURE,

MEDICAL COSTS ARE RELIABLE AND BASED ON ACCEPTED
METHODOLOGIES.

1. Dr. Madsen is properly certified and credentialed to perform life care planning. Madsen
Dr. Madsen relied on appropriate date to formulate her life care plan for Plaintiff, including
medical records, speaking to Plaintiff, limitations due to the amputation, stroke, Crohn's
Disease, and psychiatric information, and reviewing Plaintiffs goals, prior level of
function, and previous vocational/avocational interests. Depo. at 170:18-176:1-2.

2. In formulating her life care plan for Plaintiff, Dr. Madsen considered Plaintiff's average
lifespan under the Social Security guidelines, his health comorbidities, the fact he was
incarcerated, and his date of release from prison. Madsen Depo. at 180:8-189:1.

3. In preparing her life care plan for Plaintiff, Dr. Madsen obtained the current costs of
medical charges from St. Alphonsus Health System, as Plaintiff identified that facility as
the one, where he would likely obtain care with conveniently located clinics in the Boise

area. Madsen Depo. at 192:1-196:1-5.

DATED: This 22" day of October, 2019.
JOHNSON & MONTELEONE, L.L.P.
/s/ Jason R.N. Monteleone

Jason R.N, Monteleone
Attorneys for Plaintiff

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CERTIFICATE OF MAILING, DELIVERY, OR FACSIMILE TRANSMISSION

I CERTIFY that, on October

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/s/ Jason R.N. Monteleone
Jason R.N. Monteleone
Attorneys for Plaintiff

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